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                 Exhibit C
     Case 2:24-cv-01349-NR    Document 20-3 8/15/2024
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                                          Filed 8/15/2024 3:16:00 PM Commonwealth Court of Pennsylvania
                                                                                           394 MD 2024

     IN THE COMMONWEALTH COURT OF PENNSYLVANIA

                                            :
AUTUMN WILLIAMS, ABRAHAM                    :    No. _____ MD 2024
DARAMAY, and JONATHAN                       :
MARK DANIELS,                               :
                                            :
                        Petitioners,        :
                                            :
v.                                          :
                                            :
PENNSYLVANIA DEPARTMENT                     :
OF STATE and AL SCHMIDT, IN                 :
HIS CAPACITY AS SECRETARY                   :
OF THE COMMONWEALTH,

                       Respondents.

                             NOTICE TO PLEAD

TO: PENNSYLVANIA DEPARTMENT OF STATE; and AL SCHMIDT,
IN HIS CAPACITY AS SECRETARY OF THE COMMONWEALTH

      You are hereby notified to file a written response to the enclosed
petition for review within thirty (30) days from service hereof or a
judgment may be entered against you.

Dated: August 15, 2024               /s/ Matthew H. Haverstick
                                     Matthew H. Haverstick (No. 85072)
                                     KLEINBARD LLC
                                     Three Logan Square
                                     1717 Arch Street, 5th Floor
                                     Philadelphia, PA 19103
                                     Ph: (215) 568-2000
                                     Fax: (215) 568-0140
                                     Eml: mhaverstick@kleinbard.com

                                     Attorneys for Petitioners
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      IN THE COMMONWEALTH COURT OF PENNSYLVANIA

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DARAMAY, and JONATHAN                    :
MARK DANIELS,                            :
                                         :
                         Petitioners,    :
                                         :
v.                                       :
                                         :
PENNSYLVANIA DEPARTMENT                  :
OF STATE and AL SCHMIDT, IN              :
HIS CAPACITY AS SECRETARY                :
OF THE COMMONWEALTH,

                        Respondents.

     PETITION FOR REVIEW IN THE NATURE OF MANDAMUS
               AND DECLARATORY JUDGMENT

I.    INTRODUCTION

      1.    With the 2024 general election less than three months away,

Respondents Pennsylvania Department of State (the Department) and

Secretary of the Commonwealth Al Schmidt (the Secretary), are

attempting to preclude from the ballot a political body’s candidates for

President and Vice-President of the United States, based on an

interpretation of the Election Code that contravenes not only settled

principles of statutory construction, but also the State and Federal

Constitution.
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     2.    Specifically, as described in greater detail below, nomination

papers were timely filed with the Secretary seeking to have the names

of Cornel West and Melina Abdullah printed on the general election

ballot as candidates for president and vice-president, respectively, of the

Justice for All political body (the West/Abdullah Nomination Papers).

The West/Abdullah Nomination Papers were filed before the applicable

deadline, contained signatures from over thirteen thousand qualified

Pennsylvania electors, and were accompanied by candidate affidavits

(together with the requisite fees) duly executed by West and Abdullah.

     3.    Nevertheless, the Secretary has refused to recognize the

candidacy of West and Abdullah for President and Vice-President,

respectively because the West/Abdullah Nomination Papers were not

accompanied by Candidate Affidavit forms executed by each of the

nineteen individuals designated as the West/Abdullah presidential

electors. The Secretary’s decision is predicated on its view—albeit one

that is textually unsupported and constitutionally infirm—that a

political body’s “presidential electors” are “candidates” under the

Election Code and, thus, must comply with the strictures applicable to

all other candidates.
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       4.    Because presidential electors of political bodies are not

“candidates for a[] public office” under Section 951 of the Election Code,

25 P.S. § 2911(a), the Secretary’s refusal to accept and acknowledge

receipt of the West/Abdullah Nomination Papers contravenes his non-

discretionary ministerial duties under said statutory scheme.

       5.    Further, even if textually supportable, the Secretary and

Department’s interpretation of the Election Code violates the State and

Federal Constitution, as it arbitrarily imposes significant additional

burdens on political bodies beyond those required of political parties,

without any discernible state interest to justify the disparate treatment.

       6.    Accordingly, Petitioners request that this Court: (1) issue a

writ    of   mandamus      compelling    the    Secretary       to   accept     the

West/Abdullah Nomination Papers in accordance with his statutory

obligations; (2) declare Respondents’ interpretation of Section 951 of the

Election Code an unlawful de facto regulation under the Pennsylvania

Regulatory Review Act, see 71 P.S. §§ 745.1, et seq., and enjoin

Respondents from enforcing the same; (3) declare Respondents’

interpretation of Section 951 unconstitutional under the Equal

Protection clauses of the State and Federal Constitution and enjoin
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further enforcement of said interpretation; and (4) declare Respondents’

interpretation of Section 951 unconstitutional under the State

Constitution’s Free and Equal Elections Clause.

II.   JURISDICTION

      7.    This Court has original and exclusive jurisdiction over this

Petition for Review pursuant to 42 Pa.C.S. § 761(a)(1), because it is an

action against the Commonwealth government and against officers of

the Commonwealth acting in their official capacities.

III. PARTIES SEEKING RELIEF

      8.    Petitioner Autumn Williams is a registered Pennsylvania

voter, residing at 104 Midway Aly, Mr. Morris, PA, 15349, who was

listed as a presidential elector on the West/Abdullah Nomination Paper.

Petitioner Williams also signed as a petitioner on the West/Abdullah

Nomination Papers.

      9.    In the event West and Abdullah prevail in the November

2024 election, Petitioner Williams intends to carry out her duties as a

presidential elector and, thus, has a substantial, direct, and immediate

interest in ensuring that West and Abdullah can access the ballot.
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     10.   In addition, Petitioner Willaims is among the three

individuals who are on the “committee . . . authorized to fill vacancies, if

any shall occur[.]” 25 P.S. § 2912; see also id. at § 2940 (“In case of the

death or withdrawal of any candidate nominated by any political body

by nomination papers, the committee named in the original nomination

papers may nominate a substitute in his place by filing in the proper

office a substituted nomination certificate[.]”).

     11.   As such, Petitioner Williams also has an interest in ensuring

that candidates of the Justice for All political body are treated in a

manner that comports with the Election Code, the Pennsylvania State

Constitution, and the United States Constitution.

     12.   Petitioner Abraham Daramay is a registered Pennsylvania

voter, residing at 518 Primos Ave., Folcroft, PA 19032, and has been

designated as a presidential elector for West/Abdullah, replacing one of

the individuals originally identified on the West/Abdullah Nomination

Paper, who is no longer willing or able to serve as a presidential elector.

     13.   Petitioner    Jonathan     Mark    Daniels     is    a    registered

Pennsylvania voter, residing at 1943 E. Orleans St., Philadelphia, PA

19134, and has been designated as a presidential elector for
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West/Abdullah, replacing one of the individuals originally identified on

the West/Abdullah Nomination Paper, who is no longer willing or able

to serve as a presidential elector.

        14.   Because Petitioners Daramay and Daniels have been denied

the opportunity to serve as presidential electors for the West/Abdullah

ticket as a result of Respondents unlawful actions, they have a

substantial, direct, and immediate interest in Respondents’ compliance

with the ministerial duty to accept the West/Abdullah Nomination

Papers.

        15.   Unless and until Respondents are directed to comply with

their statutory duty, all three Petitioners are entirely foreclosed from

acting as presidential electors and exercising the attendant rights and

duties.

        16.   Similarly, Petitioner Williams, as a petition signer, has a

substantial, direct, and immediate interest in Respondents’ compliance

with their statutory duty to accept West/Abdullah Nomination Papers.

Petitioner Williams is unable to vote for her chosen political body

candidate unless and until Respondents comply with their statutory

duty.
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      17.   Because Respondents’ interpretation of Section 2911 unfairly

treats political bodies and political parties differently, Petitioners’ right

to vote is significantly burdened. In fact, the burdens in this case are so

substantial, that they constitute an effective denial of the right to vote.

IV.   GOVERNMENT UNITS WHOSE INACTION IS IN ISSUE

      18.   The Department is an Executive Branch Agency under the

leadership of the Secretary of the Commonwealth, see 71 P.S. § 273,

vested with only such powers as are granted to it by statute.

      19.   The Secretary is the Secretary of the Commonwealth who

has certain enumerated responsibilities under the Election Code,

including, inter alia, the power and duty “[t]o certify to county boards of

elections for primaries and elections the names of the candidates for

President and Vice-President of the United States,” 25 P.S. § 2621(c),

and “[t]o receive and determine, as hereinafter provided, the sufficiency

of nomination petitions, certificates and papers of candidates for

President of the United States[.]” Id. at § 2621(d).

      20.   The determination sought to be reviewed is Respondents’

refusal to accept the West/Abdullah Nomination Papers in violation of

their statutory obligation and based on a textually and constitutionally
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untenable interpretation of the Election Code’s requirements relative to

candidate affidavits.

V.    STATEMENT OF MATERIAL FACTS

         A. Nomination of candidates for President and Vice-
            President of the United States under the Election
            Code.

      21.   Generally, the Election Code provides for two avenues

through which candidates for President and Vice-President of the

United States may have their names printed on the general election

ballot: (1) nomination by major political parties; 25 P.S. §§ 2861-2883; or

(2) nomination by political bodies (including “minor political parties”);

25 P.S. §§ 2911-2914.

      22.   Although this action centers on the latter method—i.e.,

nomination by a political bodies—a brief discussion of both methods is

necessary to fully appreciate the pervasive infirmities in the Secretary’s

statutory construct.

      23.   Under the Election Code, any party whose share of the

registered voters statewide is equal to or greater than fifteen percent

and at least one of whose candidates polled above a certain minimum

threshold is deemed a “political party.” 25 P.S. §§ 2831(a); 2872.2.
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    24.         25 Pa. Stat. Ann. § 2831 (West)1

        25.     For decades, the Republican and Democratic parties have

been the only parties that have met the criteria to enjoy “political party”

status.

        26.     Each political party is entitled to choose its nominee for

President and Vice President of the United States at the party’s

national convention.

        27.     Thereafter, the presidential candidate of each political party

chooses a slate of presidential electors. See 25 P.S. § 2878.

        28.     Although the Election Code provides that a party’s

presidential electors must be chosen within thirty days, failure to do so

is in no way fatal to the candidacy of a political party’s presidential



1 Although Section 801 defines a “political party,” as “[a]ny party or political body, one of whose

candidates at the general election next preceding the primary polled in each of at least ten counties
of the State not less than two per centum of the largest entire vote cast in each of said counties for
any elected candidate, and polled a total vote in the State equal to at least two per centum of the
largest entire vote cast in the State for any elected candidate, is hereby declared to be a political
party within the State[.]” Id. at § 2831(a). But under Section 912.2, any “political party as defined in
section 801(a) or (b) whose State-wide registration is less than fifteen per centum of the combined
State-wide registration for all State-wide political parties as of the close of the registration period
immediately preceding the most recent November election[,]” is defined as a “minor political party.”
Id. at § 2872.2(a). Currently, the Libertarian party is the only minor political party in Pennsylvania.
However, because the ballot-access process for political bodies and minor political parties is identical
in all respects relevant here, the term “political body,” as used here, includes “minor political
parties.” See id. (“Notwithstanding any other provision in this act to the contrary, minor political
parties shall nominate all of their candidates for the offices to be filled at the ensuing November
election pursuant to section 9031 in accordance with the requirements of section 951, other than
subsection (e)(6) and (7) thereof,2 and section 954,3 and shall obtain the required signatures during
the same time frame available to political bodies.”).
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candidate, provided that the designation is made “as soon as may be

possible after the expiration of thirty days.” Id.

     29.   Notably, this provision does not require presidential electors

to submit affidavits, or pay any fees; rather, all that is required is the

presidential elector’s name and address. See id. (“The names of such

nominees, with their residences and postoffice addresses, shall be

certified immediately to the Secretary of the Commonwealth by the

nominee for the office of President or Vice-President, as the case may

be, making the nominations.”).

     30.   By contrast, a political party whose total share of statewide

support is below the aforementioned threshold, or a political body,

which is defined as an “an independent body of electors,” 25 P.S. § 2602,

nominates its candidates for the general election—including candidates

for President and Vice-President—by filing nomination papers, in

accordance with certain requirements, as set forth in Section 951

through 954 of the Election Code. See 25 P.S. §§ 2911-2914.

     31.   Section 951 provides that “nomination of candidates for any

public office may also be made by nomination papers signed by qualified
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electors of the State, or of the electoral district for which the nomination

is made, and filed in the manner herein provided.” Id. at § 2911(a).

       32.     Nomination papers of presidential candidates must be

signed by at least five thousand qualified electors, see id. at § 2911(b),2

and be accompanied by “an affidavit of each candidate nominated

therein[,]” making certain attestations. See id. at § 2911(e).

       33.     In terms of eligibility, Section 951.1 of the Election Code

provides that “[a]ny person who is a registered and enrolled member of

a party during any period of time beginning with thirty (30) days before

the primary and extending through the general or municipal election of

that same year shall be ineligible to be the candidate of a political body

in a general or municipal election held in that same year. Id. at §

2911.1.

       34.     Furthermore, under Section 954, “each candidate nominated

by a nomination paper” must submit “[t]he same filing . . . as required


2 Although Section 951(b) imposes a substantially higher signature requirement, see 25 P.S.

§ 2911(b), in Constitution Party of Pa. v. Cortés, No. 12-2726, Doc. No. 115 (E.D. Pa. Feb. 1, 2018),
the United States District Court for the Eastern District of Pennsylvania found the requirement
unconstitutional and replaced it with a 5,000 signature minimum for presidential candidates. By its
terms, the decision in Constitution Party of Pa. only applies to the three political bodies and minor
political parties who lodged the complaint. However, the Secretary has recognized that the Court’s
rationale would likely apply with equal force to all bodies and parties that are required to nominate
their candidates by nomination papers and, thus, has announced that the Department would accept
nomination papers that comply with the minimum signature requirements interposed by
Constitution Party of Pa.
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in section 913 for the filing of nomination petitions by candidates for

nomination to the same office.” Id. at § 2914.

       35.   The Department details its interpretation of these provisions

on its website under a page titled “Third Party Nomination Paperwork.”

See              https://www.pa.gov/en/agencies/dos/programs/voting-and-

elections/running-for-office/third-party-nomination-

paperwork.html#accordion-21c3b2a9ea-item-f2eb7b4ba2                   (last   visited

Aug. 5, 2024).

       36.   Inexplicably—and without grappling with the multitude of

absurdities engendered by such a construct—the Department has taken

the position that every individual designated as a presidential elector

by a political body is a “candidate.”

       37.   Among     other    things,   according    to       the   Department,

presidential electors must submit the candidate affidavit required

under Section 951(e) of the Election Code. Specifically, the frequently

asked questions portion of the Department’s website provides, in

relevant part:

             Do presidential electors need to complete
             the Candidate’s affidavit?
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             Yes, minor political party and political body
             candidates for the office of presidential elector
             must file candidates’ affidavits by the August 1
             deadline. 25 P.S. §§ 2911(e), 2913(a).

Id.

       38.   The Department has also taken the position that the

disaffiliation requirements set forth in Section 951.1 of the Election

Code apply to presidential electors:

             Do    presidential      electors   submitting
             nomination papers need to have the same
             party affiliation as the candidate?

             No, but any person who is a registered and
             enrolled member of the Democratic, Republican,
             or Libertarian party during any period of time
             beginning thirty (30) days before the primary and
             extending through the general or municipal
             election of that same year is ineligible to be a
             candidate for presidential elector of a political
             body in a general or municipal election held in
             that same year. 25 P.S. § 2911(e).

Id.

       39.   The Nomination Paper form created by the Department also

requires candidates for President and Vice-President to list all nineteen

presidential electors on each sheet.

       40.   For example, the Department’s website provides:
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             Does a Presidential candidate need to
             provide all 19 electors, or can they have less
             than that?

             A presidential candidate must nominate 19
             individuals to serve as candidates for the office of
             presidential elector.

Id.

          B. The role of Presidential Electors under the Election
             Code.

       41.   In   Pennsylvania,       once      designated,      the   individual

presidential electors of the respective candidates for President of the

United States remain largely unknown to the general public and have

virtually no involvement in the political process until several weeks

after the election.

       42.   Most importantly, the names of presidential electors are

nowhere listed on the ballot or any of the election materials provided to

voters by election officials.

       43.   Nor do any of the Election Code’s various public notice

provisions require disclosure of the names of presidential electors.

       44.   Similarly, as a practical matter, it is exceedingly difficult for

voters to ascertain the identities of the presidential electors.
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     45.   For example, the names of presidential electors do not

appear on the Department’s “Candidate Database,” or its “Unofficial

List of Candidates,” or in any other portion of the Department’s website.

     46.   Indeed, upon information and belief, the Department does

not publicly disclose—except to specific individuals who requested such

information—the identity of the individual presidential electors prior to

the election.

     47.   Once the results of the presidential election have been

ascertained, Section 1502 of the Election Code provides that the

individuals designated to act as electors by the winning presidential

candidate “assemble at the seat of government of this Commonwealth

[i.e., Harrisburg], at 12 o’clock noon of the day which is, or may be,

directed by the Congress of the United States, and shall then and there

perform the duties enjoined upon them by the Constitution and laws of

the United States.” 25 P.S. § 3192.

     48.   Under Section 1504, each presidential elector is entitled to

“the sum of three dollars for every day spent in traveling to, remaining

at, and returning from, the place of meeting aforesaid, and shall be

entitled to mileage at the rate of three cents per mile to and from his
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home, to be computed by the ordinary mail route between their homes

and the place of meeting aforesaid.” Id.

      49.   And if any of the presidential electors selected by the

winning candidate die, “or for any cause fail to attend at the seat of

government at the time appointed by law,” Section 1503 provides that

“the electors present shall proceed to choose viva voce a person of the

same political party as such deceased or absent elector, to fill the

vacancy occasioned thereby[.]” Id. at 3193.

      50.   With no mention of presidential electors in any other

statute, the above provisions are the extent of the powers and duties of

the presidential electors.

         C. The West/Abdullah Nomination Papers and
            Respondents’ failure to accept the same

      51.   The West/Abdullah Nomination Papers, containing over

13,000 signatures, were timely submitted in accordance with the above

statutory requirements.

      52.   In addition, West and Abdullah paid the relevant filing fee,

and attached submitted their respective candidate affidavits. See 25

P.S. § 2911(b)-(e); see also id. at § 2914.
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        53.   But the Secretary rejected the West/Abdullah Nomination

Papers because they did not contain 19 individual candidate affidavits

for every presidential elector.

        54.   Despite   Petitioners’   disagreement        with     Respondents’

interpretation of Section 951 of the Election Code, Petitioner Williams

and People over Party attempted to cure this alleged infirmity with the

West/Abdullah Nomination Papers.

        55.   Between July 31, 2024 and August 1, 2024, People Over

Party engaged in substantial efforts to contact their presidential

electors to secure candidate affidavits.

        56.   In its efforts to contact the presidential electors, People Over

Party learned that various electors no longer wished to serve in that

role.

        57.   The Committee to Fill Vacancies met and nominated the

necessary replacement electors.

        58.   People Over Party diligently continues to seek candidate

affidavits from all presidential electors, including replacement electors.

        59.   The   Secretary   refused    to    accept    the    West/Abdullah

Nomination Papers or any efforts to cure the alleged infirmities.
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       60.   Despite his statutory non-discretionary obligation to accept

the Nomination Papers, 25 P.S. §§ 2621(d), the Secretary has rejected

the    West/Abdullah      Nomination     Papers      and,      absent   judicial

intervention, will not comply with his duty to certify to the county

boards of elections West’s name as a candidate for President, and

Abdullah’s name as a candidate for Vice-President.

VI.    COUNTS

                COUNT ONE: MANDAMUS
  (FAILURE TO FULFILL MANDATORY DUTIES UNDER THE
                   ELECTION CODE)

       61.   Petitioners incorporate the above paragraphs as though set

forth herein at length.

       62.   Mandamus is a common law writ “used to compel official

performance of a ministerial act when a petitioner establishes a clear

legal right, the respondent has a corresponding duty, and the petitioner

has no other adequate remedy at law.” Tindell v. Dep’t of Corr., 87 A.3d

1029, 1034 (Pa. Cmwlth. 2014) (citing Danysh v. Wetzel, 49 A.3d 1, 2

(Pa. Cmwlth. 2012)).

       63.   A ministerial act in the context of mandamus is one that a

public office is “required to perform upon a given state of facts and in a
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prescribed manner in obedience to the mandate of legal authority.”

Philadelphia Firefighters’ Union v. Philadelphia, 119 A.3d 296, 303 (Pa.

2015) (quoting County of Allegheny Deputy Sheriff’s Assn v. County of

Allegheny, 730 A.2d 1065, 1067-68 (Pa. Cmwlth. 1999)).

     64.   Moreover, mandamus will lie to compel an agency to act,

whether its inaction is formally pronounced, or the agency instead is

“sitting on its hands.” See Chanceford Aviation Props, LLC v.

Chanceford Twp. Bd. of Supervisors, 923 A.2d 1099, 1108 (Pa. 2007).

     65.   Indeed, where the Secretary refuses to accept a candidate’s

nomination petition or paper based on a mistaken interpretation of the

law, mandamus has long been recognized as the proper vehicle for

compelling performance of that duty. See, e.g., Fraenzl v. Sec'y of Com.

of Pa., 478 A.2d 903, 906 (Pa. Cmwlth. 1984) (granting candidate’s

application for peremptory relief in an action for mandamus where the

Secretary rejected the congressional candidate’s nomination paper

based on an erroneous interpretation of the Election Code); Hamilton v.

Johnson, 141 A. 846, 848 (Pa. 1928) (recognizing that “if there is a

refusal to accept a [nomination] petition in proper form” mandamus is

an appropriate remedy).
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     66.   Here, the Secretary had a duty under Section 201 of the

Election Code, see 25 P.S. § 2621(d), to accept the West/Abdullah

Nomination Papers because they were timely submitted, contained a

sufficient number of signatures, and were accompanied by the affidavits

of West and Abdullah, as required by Section 951. See Fenerty v.

Lawrence, 27 Pa. D. & C. 640, 642 (Dauph. Cnty. Comm. Pl. Pa. 1936).

     67.   Insofar as the Secretary has rejected the West/Abdullah

Nomination Papers because they were not accompanied by candidate

affidavits of nineteen presidential electors, the Secretary has woefully

misconstrued the Election Code.

     68.   Specifically, Section 951(e) of the Election Code requires

submission of an “affidavit of each candidate nominated” by way of a

nomination paper. 25 P.S. § 2911(e). But settled principles of statutory

interpretation, presidential electors of political bodies are not

“candidates nominated” in nomination papers.

     69.   Turning initially to the plain language of the statute, the

Election Code defines “nomination” as “the selection, in accordance with

the provisions of this act, of a candidate for a public office authorized to

be voted for at an election.” 25 P.S. § 2602(k).
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     70.   But presidential electors do not hold a “public office.”

     71.   Pennsylvania Courts have long recognized that “public

office” means “an elective or appointive position in which the incumbent

is exercising a governmental function which involves a measure of

policy making and which is of general public importance.” Appeal of

Bowers, 269 A.2d 712, 716–17 (Pa. 1970); see also Com. ex rel. McCreary

v. Major, 22 A.2d 686, 688 (Pa. 1941); accord Bedeski v. Greater

Nanticoke Area Sch. Dist., 427 A.2d 1269, 1271 (Pa. Cmwlth. 1981) (“It

is also the law in this Commonwealth that the key considerations in

determining whether one is a public officer are the nature of the office,

the powers wielded, and the responsibilities which are carried out.”).

     72.   Presidential electors do not exercise any “measure of policy

making” or “independent public duties,” but rather, serve a function

that is ceremonial and ministerial function ministerial and ceremonial.

     73.   Accordingly, presidential electors are not “candidates”

required to submit nomination papers.

     74.   Indeed, although the issue has seemingly evaded review in

Pennsylvania, multiple appellate courts from other jurisdictions have

held, in the specific context of nominations for president by minor
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political parties or political bodies, that presidential electors do not hold

a “public office.” See, e.g., Spreckels v. Graham, 228 P. 1040, 1043 (Cal.

1924); State v. Gifford, 22 Idaho 613, 126 P. 1060, 1068 (1912); see also

Markham v. Bennion, 252 P.2d 539, 544 (Utah 1953).

     75.   The Secretary’s treatment of presidential electors as

“candidates” is also inconsistent with the ordinary definition of the

term, as used in common parlance.

     76.   A central component of being a candidate for elective office is

having one’s name presented to the electorate and a corresponding

opportunity by the voters to cast a vote for that candidate.

     77.   Presidential electors’ names, however, appear nowhere

ballots and, indeed, there is no method for voters to readily identify the

presidential electors.

     78.   In fact, even those voters who could, through some effort,

ascertain the identity of each presidential candidates’ presidential

elector, they are required to vote for the entire slate of presidential

electors and are not permitted to vote for different presidential electors

than those chosen by the named candidate.
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      79.   That presidential electors are not “candidates” is further

demonstrated by the fact that the space provided for writing in the

name of a candidate permits only the presidential/vice-presidential

candidate’s name to be written; no opportunity is afforded for writing in

the names of presidential electors.

      80.   Indeed, this distinction between electors and candidates

makes sense given the hallmarks of candidacy, such as campaign

fundraising and reporting, participating in recounts, and ultimately

being elected to public office.

      81.   Presidential electors never form a campaign committee,

fundraise, appear on a ballot, nor do they fulfil any governmental

function beyond the ceremonial act of meeting in Harrisburg for a short

period and memorializing that which is already a foregoing conclusion

by that point.

      82.   In fact, as best as Petitioners can tell, no presidential

elector—for a political party or body—has ever filed a campaign finance

report or statement that is required of all candidates. See 25 P.S. §

3246(a).
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     83.    Nor has the Department ever included presidential electors

in the list of candidates who have failed to file such reports in the list it

is required publish under Section 1639 of the Election Code. See 25 P.S.

§ 3259(10) (requiring the department, among other things, to “[p]ublish

a list of all those candidates and their committees who have failed to

file reports as required by this act within six (6) days of their failure to

comply”).

     84.    Simply put, electors are not candidates in any sense of the

term and, to the extent Respondents contend otherwise, it is based on a

flawed reading of the statute.

     85.    To the extent there is any doubt regarding the plain

language of the state, the Election Code is—at best—ambiguous

regarding the requirements for electors of third-party candidates.

     86.    Applying settled principles used by courts to resolve

ambiguities   in statutory       language,   including    the     constitutional

avoidance doctrine and the “longstanding and overriding policy in this

Commonwealth to protect the elective franchise[,]” the only legally

sound interpretation of Section 951 is that presidential electors are not

candidates. See Pa. Democratic Party v. Boockvar, 238 A.3d 345, 360-61
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(Pa. 2020) (cautioning that, in interpreting election matters, the Court

is “mindful of the longstanding and overriding policy in this

Commonwealth to protect the elective franchise” (internal citations and

quotation marks omitted)).

     87.   Petitioners’ right to relief is clear because the Election Code

does not require presidential electors to submit candidate affidavits and

no provision of law permits Respondents to ignore their legal non-

discretionary obligations to accept and approve the West/Abdullah

Nomination Papers.

     88.   Petitioners are without any other recourse because only

Respondents    have   the    obligation     to     accept    and    approve       the

West/Abdullah Nomination Papers.

     89.   Because Respondents failed to adhere to their mandatory,

non-discretionary obligation to accept and approve the West/Abdullah

Nomination Papers, and there is no alternative to mandamus,

Petitioners are entitled to mandamus as a matter of law.

   COUNT TWO: DECLARATORY AND INJUNCTIVE RELIEF
      (VIOLATION OF THE ELECTION CODE AND THE
                REGULATORY REVIEW ACT)
    90. Petitioners incorporate the above paragraphs as though set

forth herein at length.
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     91.   A party may obtain a declaration of existing legal rights,

duties, or status of parties by filing a petition under the Declaratory

Judgments Act, 42 Pa.C.S. §§ 7531, et seq.

     92.   The purpose of the Declaratory Judgments Act is to “settle

and afford relief from uncertainty with respect to rights, status, and

other legal relations, and to be liberally construed and administered.”

See Bayada Nurses, Inc. v. Dep’t of Labor & Indus., 8 A.3d 866, 874 (Pa.

2010) (citing 42 Pa.C.S. § 7541(a)).

     93.   Here, Petitioners assert that Respondents are required by

the Election Code to accept and approve the West/Abdullah Nomination

Papers as presented for submission.

     94.   On the other hand, Respondents take the position that the

West/Abdullah Nomination Papers cannot be accepted unless every

elector submits a candidate affidavit.

     95.   As   set   forth     above,   Respondents’          interpretation    is

fundamentally flawed.

     96.   Respondents have a duty to accept and approve the

West/Abdullah Nomination Papers. See 25 P.S. § 2621(d).
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     97.   To the extent Respondents maintain that all nineteen

presidential electors are required to submit candidate affidavits, for the

reasons set forth above, this interpretation misconstrues the Election

Code.

     98.   In fact, Respondents’ instruction requiring electors to submit

candidate affidavits is contrary to the plain language of the Election

Code and, therefore, not binding. See Com. ex rel. Fisher v. Jash Intern.,

Inc., 847 A.2d 125, 133 (Pa. Cmwlth. 2004) (“Only where the language

of a statute is ambiguous should we defer to an administrative agency’s

interpretation of a statute the agency is charged to enforce.”).

     99.   But even if Respondents’ interpretation of the Election Code

is reasonable, it cannot and does not have the force of law unless it is

formally promulgated. See Marcellus Shale Coalition v. Dep’t of Envtl.

Prot., 216 A.3d 448, 459 (Pa. Cmwlth. 2019) (explaining that agency

regulations are valid and binding only when they are (1) adopted within

the agency’s granting power, (2) issued pursuant to proper procedure,

and (3) reasonable).
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     100. Respondents’ informal interpretation of this provision was

never promulgated in accordance with the Regulatory Review Act,

which sets forth detailed notice and publication requirements.

     101. Moreover, Respondents’ instruction requiring presidential

electors to submit candidate affidavits is contrary to the plain language

of the Election Code and, therefore, not binding. See Com. ex rel. Fisher

v. Jash Intern., Inc., 847 A.2d 125, 133 (Pa. Cmwlth. 2004) (“Only where

the language of a statute is ambiguous should we defer to an

administrative agency’s interpretation of a statute the agency is

charged to enforce.”).

     102. At best, the Election Code is ambiguous regarding the

requirements for electors of third-party candidates. Under the settled

principles of statutory construction, the best interpretation of Section

951 is that presidential electors are not candidates. See Pa. Democratic

Party v. Boockvar, 238 A.3d 345, 360-61 (in interpreting election

matters, the Court is “mindful of the ‘longstanding and overriding policy

in this Commonwealth to protect the elective franchise.’”).
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      103. Accordingly, there exists a clear legal dispute between

Petitioners and Respondents regarding the requirements of the Election

Code and the duties of Respondents under the same.

      104. Declaratory judgment from the Court will resolve this legal

controversy between the parties.

      105. Because      Respondents      have      a   duty      to    accept     the

West/Abdullah      Nomination     Papers,    Petitioners         are   entitled    to

declaratory judgment to resolve the present legal dispute.

   COUNT III: DECLARATORY AND INJUNCTIVE RELIEF
(VIOLATION OF THE EQUAL PROTECTION CLAUSES OF THE
  PENNSYLVANIA AND UNITED STATES CONSTITUTIONS)

      106. Petitioners incorporate the above paragraphs as though set

forth herein at length.

      107. Article I, Section 26, the equal protection clause of the

Pennsylvania Constitution, provides that “[n]either the Commonwealth

nor any political subdivision thereof shall deny to any person the

enjoyment of any civil right, nor discriminate against any person in the

exercise of any civil right.” Pa. Const. art. I, § 26.
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     108. Its federal counterpart, the Fourteenth Amendment to the

United States Constitution ensures that no state shall deny to any

person equal protection of the laws. U.S. Const. amend. XIV.

     109. The equal protection clause ensures that like persons in like

circumstances will be treated similarly under the law. Commonwealth

v. Albert, 758 A.2d 1149, 1151 (Pa. 2000).

     110. In instances such as these, an intermediate level of scrutiny

is required for equal protection claims “to weigh, against the burdens

imposed, any plausible justification the State has advanced for

imposing unequal burdens on major and minor parties.” Working

Families Party v. Commonwealth, 209 A.3d 270, 283 (Pa. 2019) (quoting

Reform Party of Allegheny Cnty. v. Allegheny Cnty. Dep’t of Elections,

174 F.3d 305, 315 (3d Cir. 1999)).

     111. Respondents’ interpretation and application of Section 951 of

the Election Code treats political bodies differently than political

parties with no plausible justification to support the burden this

differing treatment imposes.

     112. Political parties are not required to submit their slate of

presidential electors until thirty days after the parties have nominated
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their candidate for president, let alone submit candidate affidavits for

every single presidential elector. See 25 P.S. § 2878.

     113. Moreover, a political party’s failure to submit the names of

presidential electors within the time allotted does not affect the party’s

candidate’s rights to appear on the ballot. See generally 25 P.S. § 2878

(“If for any reason the nominee of any political party … fails or is

unable to make the said nomination within the time herein provided,

then the nominee … shall, as soon as may be possible after the

expiration of thirty days, make the nominations.”).

     114. Requiring all presidential electors for third-party candidates,

such as the electors for West/Abdullah, to submit candidate affidavits at

the time of nomination paper submission is a substantial burden.

     115. Petitioners here, for instance, are out of the state and

country for various reasons at the time West/Abdullah Nomination

Papers were due, as one elector was in Nicaragua, one elector is caring

for an ill family member out of state, and one elector has been suffering

from mental health concerns. Petitioners’ will should not be thwarted

simply because the presidential electors cannot timely complete an

extra-statutory requirement of candidate affidavits.
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      116. On the other hand, there is no discernable state interest or

justification advanced by subjecting political bodies, such as Justice for

All, to onerous requirements that do not apply to political parties.

      117. There is no basis for this requirement in the Election Code

and, even if there was, there is no discernable state interest for treating

political bodies differently than political parties for the appointment of

presidential electors.

      118. Because       the    burden    caused     by    the     Department’s

interpretation is severe and it advances no state interest, the

Department’s interpretation of Section 951 of the Election Code violates

the equal protection clauses of the Pennsylvania and United States

Constitutions.

        COUNT IV: DECLARATORY AND INJUNCTIVE RELIEF
         (VIOLATION OF THE FREE AND EQUAL ELECTIONS
          CLAUSE OF THE PENNSYLVANIA CONSTITUTION)

      119. Petitioners incorporate the above paragraphs as though set

forth herein at length.

      120. Article I, Section 5 of the Pennsylvania Constitution,

commonly known as the Free and Equal Elections Clause, guarantees

that “[e]lections shall be free and equal[.]” Pa. Const. art. I, § 5.
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     121. The free and equal elections clause “guarantees our citizens

an equal right, on par with every other citizen, to elect their

representatives.” League of Women Voters v. Commonwealth, 178 A.3d

737, 804 (Pa. 2018). In other words, Article I, Section 5 “mandates that

all voters have an equal opportunity to translate their votes into

representation.” Id.

     122. The history of Article I, Section 5 is grounded in the “desire

to secure access to the election process,” and an intent to establish “a

critical ‘leveling’ protection in an effort to establish the uniform right of

the people of this Commonwealth to select their representatives in

government.” Id. at 807.

     123. As our Supreme Court has explained,

     [E]lections are free and equal within the meaning of the
     Constitution when they are public and open to all qualified
     electors alike; when every voter has the same right as every other
     voter; when each voter under the law has the right to cast his
     ballot and have it honestly counted; when the regulation of the
     right to exercise the franchise does not deny the franchise itself, or
     make it so difficult as to amount to a denial; and when no
     constitutional right of the qualified elector is subverted or denied
     him.

Id. at 810 (quoting Winston v. Moore, 91 A.3 520, 523 (Pa. 1914)).
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     124. Respondents’ interpretation of Section 951 threatens all five

of these considerations that are the touchstone of free and equal

elections within the meaning of Article I, Section 5.

     125. First, Respondents’ interpretation that all presidential

electors for political bodies must submit candidate affidavits with

Nomination Papers does not leave elections open to all qualified

electors. Instead, it places an onerous requirement on political bodies

and their electors that their counterpart political bodies do not have.

     126. Second, similarly, Respondents’ interpretation effectively

changes the rights of voters for political parties as opposed to voters of

political bodies. Because political bodies cannot secure their candidates

place on the ballot without complying with an extra-statutory

requirement and completing candidate affidavits for every single

presidential elector, voters like Petitioners are treated differently than

voters and presidential electors of political parties.

     127. Third, under Respondents’ onerous interpretation of the law,

not every voter under the law has the right to cast his or her ballot and

have it counted because political bodies have less access to the ballot,
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thereby preventing Petitioners and other political body voters from even

being able to cast a vote for their chosen candidates.

     128. Fourth, Respondents’ interpretation of the Election Code is

so onerous that it amounts to a denial of the right to exercise the

franchise because it requires political bodies to jump through hoops that

political parties do not, making it more difficult for political body

candidates to be on the ballot so that Petitioners and other voters may

cast their vote for them. Here, Respondents’ interpretation of the

Election Code entirely precludes West and Abdullah from appearing on

the ballot, thereby denying Petitioners’ right to exercise the franchise.

     129. Fifth, because of Respondents’ interpretation that treats

political bodies differently and unfavorably, the constitutional rights of

Petitioners and other voters are denied.

     130. Respondents’ interpretation of Section 951 undermines the

purpose and mandate of the free and equal elections clause and

amounts to unequal treatment of different voters and presidential

electors based solely on whether they support a political body as

opposed to a political party.
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      131. Accordingly, Respondents’ interpretation and actions are in

violation of Article I, Section 5.

VII. RELIEF REQUESTED

      WHEREFORE, Petitioners request that the Court enter judgment

in their favor and grant the following relief:

      1.    Grant a writ of mandamus compelling the Secretary and the

Department to accept and approve the West/Abdullah Nomination

Papers;

      2.    Declare Respondents’ interpretation of Section 951 of the

Election Code an unlawful de facto regulation under the Pennsylvania

Regulatory Review Act and enjoin Respondents from enforcing the

same;

      3.    Declare Respondents’ interpretation and application of

Section 951 violates the equal protection clauses of the Pennsylvania

and United States Constitution; and

      4.    Declare Respondents’ interpretation and application of

Section 951 violates the free and equal election clause of the

Pennsylvania Constitution.
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     5.    Grant such further relief as the Court deems just and

proper.

                                  Respectfully submitted,

Dated: August 15, 2024            /s/ Matthew H. Haverstick
                                  Matthew H. Haverstick (No. 85072)
                                  Shohin H. Vance (No. 323551)
                                  Samantha G. Zimmer (No. 325650)
                                  KLEINBARD LLC
                                  Three Logan Square
                                  1717 Arch Street, 5th Floor
                                  Philadelphia, PA 19103
                                  Ph: (215) 568-2000
                                  Fax: (215) 568-0140
                                  Eml: mhaverstick@kleinbard.com
                                  svance@kleinbard.com
                                  szimmer@kleinbard.com

                                  Attorneys for Petitioners
